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Jen DeMaster

From:                             Paul Weaver
Sent:                             Wednesday, November 9, 2022 6:20 PM
To:                               Attorney Jennifer DeMaster
Subject:                          Todd Wolf


I would be pleased to provide background as to all my positive experiences I have had with Todd Wolf in his city capacity.
I have been a real estate owner and developer for many years in Sheboygan.

Paul C. Weaver

Project 4 Services, LLC.




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Jen DeMaster

From:                               Jack Liebl
Sent:                               Tuesday, November 8, 2022 12:18 PM
To:                                 Attorney Jennifer DeMaster
Subject:                            Todd...




Dear attorney DeMaster –

I have known Todd for about 30 years and worked with him for at least 20… a good man and honest as the day is long. I
was horrified to learn yet not too surprised by the past events of the day. We certainly live in bizarre times! Todd will
ALWAYS look out for whom he is working for. In this case it is the voters. Please give him your best and let him know I
give him mine.

Thanks!

Jack Liebl
Director and former CEO (retired)
Sheboygan Paper Box Company




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